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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,                    )
 BI-LEVEL PAP, AND MECHANICAL                     )      Master Docket: Misc. No. 21-1230
 VENTILATOR PRODUCTS                              )
 LITIGATION,                                      )      MDL No. 3014
                                                  )
 This Document Relates to:                        )
 William Hansen, 2:21-mc-01230                    )

                              NOTICE OF UPCOMING DEADLINES
                            UNDER DOCKET MANAGEMENT ORDER
                                FOR LITIGATING PLAINTIFFS

       Pursuant to the Court’s instructions at the case management conference held on February

25, 2025, please take notice that the following deadlines established by the Court in the Docket

Management Order entered on May 9, 2024 (ECF 2769) apply to all personal injury cases filed by

Litigating Plaintiffs pending as of January 31, 2025, including this case:

       1.      BY MARCH 3, 2025:

               a.      Service of Preservation Notices concerning records relating to the Litigating

                       Plaintiff’s claims (Docket Management Order, ¶ 12);

       2.      BY APRIL 1, 2025:

               a.      Production to Defendants required by Docket Management Order, ¶ 15(a),

                       including:

                       i.      All disclosures required by Fed. R. Civ. P. 26(a)(1);

                       ii.     Completed Litigating Plaintiff Fact Sheet;

                       iii.    Medical Records;

                       iv.     Autopsy Reports and Death Certificates;
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                      v.      Records Relating to Use of the Recalled Device and any

                              Replacement Device;

                      vi.     Record Collection Production; and

                      vii.    Declaration Under Penalty of Perjury.

              b.      Proof of Injury required by Docket Management Order, ¶ 16.

       3.     BY MAY 1, 2025:

              a.      Expert reports required by Docket Management Order, ¶ 17.

       Please take notice that the claims of any Litigating Plaintiff who fails to comply fully with

these deadlines are subject to dismissal with prejudice. (Docket Management Order, ¶ 20).



Dated: February 28, 2025

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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 28, 2025, the foregoing document was electronically filed

with the Clerk of the Court and served upon counsel of record through the Court’s ECF system.


                                                    /s/ John P. Lavelle, Jr.
                                                    John P. Lavelle, Jr.
